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                Exhibit F
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                                                           DRS Cur r ic ulu m Vitae |1



                  Dominique E. Roe-Sepowitz, M.S.W., Ph.D.
                                     Associate Professor
                   School of Social Work, College of Public Programs
                                Arizona State University
               MC 3920, 411 N. Central Ave Ste. 800, Phoenix, AZ 85004-0689
                phone (602)-496-0093 email: Dominique.Roe@asu.edu

EDUCATION

Ph.D., 2005            College of Social Work, Florida State University, Tallahassee, Florida
                       Field of Study: Direct Practice
                       Dissertation: Indicators and Predictors of Self-Mutilation: Youth in
                       Custody.

M.S.W., 2000           School of Social Work, Arizona State University, Tucson, Arizona
                       Field of Study: Direct Practice.
                       Area of Concentration: Sexual Violence, Victims of Crime, Abuse and
                       Trauma.

B.S., 1993             Springfield College, Springfield, Massachusetts
                       Field of Study: Therapeutic Recreation

ACADEMIC POSITIONS
1/2013-present                 Director of the ASU Office of Sex Trafficking Intervention
                               Research (STIR).

8/2011-present                 Associate Professor with Tenure; School of Social Work,
                               College of Public Programs, Arizona State University, Phoenix,
                               Arizona.

8/2005- 8/2011                 Assistant Professor: School of Social Work, College of Public
                               Programs, Arizona State University, Phoenix, Arizona.
Courses Taught:
MSW: Foundations of Practice I and II (Clinical Practice), Bridge Seminar I, Forensic Social
Work, Clinical Trauma Treatment, Prostitution and Human Sex Trafficking in the United States.
BSW: Social Work Practice with Individuals, Groups and Families, Introduction to Social Work.

1/2012- 5/2012                 Distinguished Research Fellow at the Ruth V. McGregor Family
                               Protection Clinic as an expert on sex trafficking, School of Law,
                               Arizona State University, Tempe, Arizona.

8/2005 – 8/2011                Assistant Professor; School of Social Work, College of Public
                               Programs, Arizona State University, Phoenix, AZ

8/2010-present                 Honors Faculty Advisor, School of Social Work

8/2005- present                Faculty Affiliate of Women and Gender Studies Program,
                               Arizona State University.




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8/2003-5/2005                   Adjunct Instructor, School of Criminology and Criminal Justice,
                                Florida State University, Tallahassee, FL
                                Course taught: Victimology (5 semesters).

8/2001-12/2003                  Instructor, College of Social Work,
                                Florida State University, Tallahassee, FL
                                Courses taught: BSW: Human Behavior and the Social
                                Environment (I and II), Interviewing and Recording,
                                Introduction to Social Work. (5 semesters)

RESEARCH AND CREATIVE ACTIVITIES
  Italics denotes an Arizona State University graduate student co-author.
* Indicates major contribution, all other co-authored work assume equal distribution of workload.

PEER REVIEWED PUBLICATIONS
Hickle, K., & Roe-Sepowitz, D. (in press). Curiosity and a pimp. Journal of Women and
       Criminal Justice.

Roe-Sepowitz, D. E., Bontrager Ryon, S., Hickle, K.E., Gallagher, J., & Hedberg, E. (in
       press).Invisible Offenders: Estimating Online Sex Customer. International
      Journal of Human Trafficking.

Roe-Sepowitz, D. E., Gallagher, J., Risinger, M., & Hickle, K. (2015). The
      sexual exploitation of girls in the United States: The role of female pimps.
      Journal of Interpersonal Violence, 30, 2814-2830.

Roe-Sepowitz, D.E., Hickle, K., Dahlstedt, J., & Gallagher, J. (2014). Victim or whore:
      The similarities and differences between victim’s experiences of domestic
      violence and sex trafficking. Journal of Human Behavior and the
      Social Environment. 24:8,883-898, DOI: 10.1080/10911359.2013.840552

Hickle,K. E., & Roe-Sepowitz, D.E. (2014) Putting the pieces back together: A group
       intervention for sexually exploited adolescent girls. Social Work with Groups, 2,
       99-114. DOI 10.1080/01609513.2013.82338

Roe-Sepowitz, D., Gallagher, J., Hickle, K., Pérez Loubert, M., & Tutelman, J.
      (2014) Project ROSE: An arrest-alternative for victims of sex trafficking and
       prostitution. Journal of Offender Rehabilitation, 53, 57-74.

Roe-Sepowitz, D.E.*, Bedard, L.B., Pate, K.A., & Hedberg, E. (2014). Esuba: The
      effectiveness of a psychoeducation group for incarcerated female survivors of
      abuse. International Journal of Offender Therapy and Comparative Criminology.
      58, (2),190-208. Doi: 10.1177/0306624X12465410

Connolly, S. M., Roe-Sepowitz, D., Sakai, C.E., & Edwards, J. (2013). Utilizing
      community resources to treat PTSD: A randomized controlled trial using Thought
      Field Therapy. The African Journal of Traumatic Stress.82-90.


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Roe-Sepowitz, D. E. (2012) Juvenile entry into prostitution: The role of emotional
      abuse. Violence Against Women, 18, 562-579.

Clarke, R., Clarke, E., Roe-Sepowitz, D., & Fey, R. (2012). Age of entry into
     prostitution: Relationship to drug use, race, suicide, education level,
     childhood abuse and family experiences. Journal of Human Behavior and the
     Social Environment. 22, 3, 270-289.

Roe-Sepowitz, D.E., Hickle, K.E., & Cimeno, A. (2012). The impact of abuse history
      and trauma symptoms on successful completion of a prostitution-exiting program.
      Journal of Human Behavior and the Social Environment. 22,1, 65-77. Doi:
      10.1080/10911359.2011.598830

Roe-Sepowitz, D. E., Hickle, K., Perez-Loubert, M., & Egan, T. (2011) Adult
      prostitution recidivism: Risk factors and impact of a diversion program.
      Journal of Offender Rehabilitation, 50, 272-285. Doi:
      10.1080/10509674.2011.574205

Heide, K.M., Roe-Sepowitz, D.E., Solomon, E.P., & Chan, H. (2011) Male and female
       juveniles arrested for murder: A comprehensive analysis of U.S. data by offender
       gender. International Journal of Offender Therapy and Comparative
       Criminology, 56, 356–384. doi: 10:1177/0306624x11406418

Roe-Sepowitz, D.E. & Hickle, K. (2010). Comparing boy and girl arsonists: Crisis,
      family, and crime scene characteristics. Journal of Legal and Criminological
      Psychology, 15, 385-399. doi: 10:1348/135532509X473913.

Roe-Sepowitz, D.E.*, Pate, K.N. & Bedard, L.A., & Greenwald, M. (2009). A
      trauma-based group intervention for incarcerated girls. Social Work with Groups,
      32, 330-341. doi:10.1080/01609510903092972

Miller-Clevenger, B. & Roe-Sepowitz, D.E. (2009). Shelter service utilization of
       domestic violence victims. Journal of Human Behavior and the Social
       Environment, 19, 359-375. doi:10.1080/10911350902787429

Ward, A. & Roe-Sepowitz, D.E (2009). Assessing the effectiveness of a trauma-
      oriented approach to treating prostituted women in a prison and a community
      exiting program. The Journal of Aggression, Maltreatment & Trauma, 18, 293-
      313. doi: 10.1080/10926770902809837

Sharp, A., Roe-Sepowitz, D.E.*, & Boberg, J (2009). The interaction of juvenile
       school firesetting and bullying: An exploratory study. School Social Work
       Journal, 33, 86-97.

Roe-Sepowitz, D. E. (2009).Comparing male and female juveniles charged



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       with homicide: Child maltreatment, substance abuse and crime details. The
       Journal of Interpersonal Violence, 24, 601-617. doi: 10.1177/0886260508317201

Hickle, K. & Roe-Sepowitz, D.E. (2009). Female juvenile arsonists: An
        exploratory look at characteristics and solo and group arson offenses. Legal
        and Criminological Psychology. doi: 10.1348/135532509X473913

Brawn, K. & Roe-Sepowitz, D.E. (2008). Female juvenile prostitution: Exploring the
       relationship to substance use. Children and Youth Services Review, 30, 1395-
      1402. doi: 10.1016/j.childyouth.2008.04.011

Roe-Sepowitz, D.E., & Krysik, J. (2008) Examining the sexual offenses of
      female juveniles: The relevance of childhood maltreatment. The American
      Journal of Orthopsychiatry: Interdisciplinary Perspectives on Mental Health and
      Social Justice, 78, 405-412. doi:10.1037/a0014310

Kleck, G., Tark, A., Bedard, L., & Roe-Sepowitz, D.E. (2008). Crime victimization
        And divorce. International Review of Victimology, 15, 1-17.

Niles, M.D.*, Reynolds, A.J., & Roe-Sepowitz, D. E. (2008). Early childhood
       intervention and early adolescent social and emotional competence: Second
       generation evaluation evidence from the Chicago Longitudinal
       Study. Educational Research, 50(1), 55-73. doi: 10.1080/0031880801920395

Roe-Sepowitz, D. E. (2007). Adolescent female murderers: Characteristics and
      treatment implications. American Journal of Orthopsychiatry: Interdisciplinary
      Perspectives on Mental Health and Social Justice, 77(3), 489-496.
      doi:10.037/0002-9432.77.3.489

Roe-Sepowitz, D. E.*, Bedard, L. E., & Pate, K.N. (2007). The impact of child
      abuse on dissociative symptoms: A study of incarcerated women. Journal of
      Trauma and Dissociation, 8 (3), 7-26. doi:10.1300/J229v08n03_02

Roe-Sepowitz, D. E. (2007).Characteristics and predictors of self-mutilation: A
      study of incarcerated women. Criminal Behaviour and Mental Health, 17, 312-
      321. doi:10.1002/cbm.665

Bedard, L.E., Pate, K.N., & Roe-Sepowitz, D.E. (2003). A program analysis of
      Esuba: Helping turn abuse around. International Journal of Offender Therapy and
      Comparative Criminology, 47, 579-607.

MANUSCRIPTS UNDER REVIEW
Roe-Sepowitz, D., Bedard, L., Bontrager Ryon, S., Richey, C., & Carroll, H. Pseudo-
      Families in Female Prisons: Exploring the Underlying Rationale and Formation of
      These Relationships. International Journal of Offender Therapy and
      Comparative Criminology. 20 pages. December 2015.



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(Revise and Resubmit) Roe-Sepowitz, D., Hickle, K., Bracy, K., Brockie, M., Mazerbo,
L., & Hawman, A. Experiencing Sex Trafficking and Sexual Exploitation as Homeless
Young People: An Exploration of Risk Factors and Support Needs. Journal of Social
Distress and the Homeless. December 2015.

Van Kleeck, C., Roe-Sepowitz, D., & Hickle, K. The male victim: Sex trading and the
      commercial sexual exploitation male homeless young adults. 25 pages,
      submitted for review to the Journal of Social Distress and the Homeless.

BOOK CHAPTERS
Roe-Sepowitz, D. E., & Hickle, K.E. (in press). Human Trafficking: A Spotlight on Sex
      Trafficking. C.M. Renzetti, J.L. Edleson, R.K. Bergen (Eds.) Sourcebook on
      Violence Against Women (3rd edition).

Hickle, K., & Roe-Sepowitz, D., (in press) Group work with sex trafficking survivors. In
       (eds) G. Grief and C. Knight Group work with populations at-risk, (4th ed.). New
       York: Oxford University Press

Roe-Sepowitz, D. E. (2011). Juvenile Prostitution. In R.J. R. Levesque (Ed.).
      Encyclopedia of Adolescence. Springer.

Roe-Sepowitz, D. & Katsulis, Y. (2011). U.S.-Mexico borderland female sex workers:
      Family responsibilities and risks for depression. In R. Dalla, J. DeFrain, L. Baker,
      and C. Williamson (Eds.). The Prostitution of Women, Men, and Children: A
      Global Perspective. Implications for Research, Policy, Education and Service.
      Lexington Academic Press.

Salas, L.*, Roe-Sepowitz, D. E., & LeCroy, C. W. (2008). Small group theory. In
        Thyer, B. (Ed.), Human Behavior and the Social Environment: The
        Comprehensive Handbook of Social Work and Social Welfare. New York: Wiley.

Roe-Sepowitz, D. E.*, Bedard, L.E. & Thyer, B. (2005). Anxiety prevention programs
      for adults. In C.N. Dulmus (Ed.), Handbook for Preventive Interventions for
      Adults. New York: Wiley.

Roe-Sepowitz, D. E.*, & Thyer, B. (2004). Empirically supported problem prevention
      programs for adolescent mental health. In L.A. Rapp-Paglicci, C.N. Dulmus, & J.
      S. Wodarski (Eds.). Handbook of prevention interventions for children and
      adolescents. New York: Wiley.

Research Documents and Reports
Roe-Sepowitz, D., Bracy, K., Massengale, L., Cantelme, L., & Ward, T. (December 2015).
Report on the Incidence of Sex Trafficking in Arizona’s Juvenile Probation Departments.
Arizona State University, Office of Sex Trafficking Intervention Research and the Arizona
Administrative Office.




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Roe-Sepowitz, D.E., Bracy, K., Gallagher, J., & Cimeno, M. (2015) Report on the incidence in
sex trafficking in Maricopa County Adult Probation. McCain Institute and the Maricopa County
Adult Probation. ASU School of Social Work, College of Public Programs.

Exploring the Impact of the Super Bowl on Sex Trafficking 2015 (February 2015). ASU Office of
Sex Trafficking Intervention Research and the McCain Institute for Global Leadership.

Offender Program for Persons who Solicit Evaluation (December 2014). City of Phoenix,
Catholic Charities DIGNITY Programs. ASU School of Social Work, College of Public
Programs.

Roe-Sepowitz, D., Bracy, K., Cunningham, J., Beverly, J., Van Kleek, C., Hickle, K.,Cantelme,
L., McKinley, K., Schuler, C., Atkins, P., Mazerbo, L., Hawman, A., & Cavaliere, S. (2014).
YES Project: Youth Experiences Survey: Exploring the Sex Trafficking Experiences of Arizona’s
Homeless and Runaway Young Adults. Tumbleweed Youth Services and ASU School of Social
Work, College of Public Programs.

Roe-Sepowitz, D., Bracy, K., Hickle, K., & Campbell, C. (2014). Arizona DMST Count Report:
Assessing the Incidence of Domestic Minor Sex Trafficking in Delinquency Services in Arizona.
McCain Institute and the Arizona Office of the Courts/Arizona Supreme Court. ASU School of
Social Work, College of Public Programs.

Exploring Sex Trafficking and Prostitution Demand during the Super Bowl in 2014 (March
2014).
http://mccaininstitute.org/applications/Exploring_Sex_Trafficking_and_Prostitution_Demand_du
ring_the_Super_Bowl_.pdf

Invisible Offenders: A Study Estimating Online Sex Customers. (August 2013).
https://copp.asu.edu/college-news/research-docs/invisible-offenders-a-study-estimating-online-
sex-customers Thorn: Digital Defenders of Children and ASU School of Social Work, College of
Public Programs.

One-Day Snapshot: Human Trafficking Activity on Adult Entertainment Website (November
2012): https://copp.asu.edu/college-news/research
docs/One_Day_Snapshot_Roe_Sepowitz.pdf/view

Published Conference Proceedings (Abstracts only)
Brockie, M., & Roe-Sepowitz, D. E. (2014, September). Starfish Partnerships Mentoring
        Program. 11th Annual Conference on Prostitution, Sex Work and the Human Trafficking,
        Toledo, OH.

Roe-Sepowitz, D. E., & Bracy, K. (2014, September). Exploring the Characteristics and
      Treatment Needs of Sex Trafficked Girls. 11th Annual Conference on Prostitution, Sex
      Work and the Human Trafficking, Toledo, OH.

Roe-Sepowitz, D.E., Hickle, K., Smith, J., & Brockie, M. (2013, September). Unique Outreach
      Projects to Combat Sexual Exploitation. 10th Annual Conference on Prostitution, Sex
      Work and the Human Trafficking, Toledo, OH.

Roe-Sepowitz, D.E., & Kiehne, E. (2013, September). The Role of Hotels and Motels in the
      Facilitation of Sex Trafficking in the United States. 10th Annual Conference on


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        Prostitution, Sex Work and the Human Trafficking, Toledo, OH.

Roe-Sepowitz, D.E., Hickle, K., & Sabella, D. (2012, September). Project ROSE (Reaching Out
      to the Sexually Exploited): An Innovative Arrest-Alternative in Phoenix, Arizona.
       9th Annual Conference on Prostitution, Sex Work and the Human Trafficking, Toledo,
      OH.

Roe-Sepowitz, D.E., Rubio, E., Hyche, C., Gennaro, J., Seer, S.,& Brockie, M. (2012,
      September). Backpage.com: Adult Entertainment Ads, Detecting Minors and
      Unexpected Findings.9th Annual Conference on Prostitution, Sex Work and the Human
      Trafficking, Toledo, OH.

Roe-Sepowitz, D.E., & Hickle, K., (2011, September). Esuba: Putting the Pieces Back Together
      with Sexually Exploited Women and Girls. 8th Annual Conference on Prostitution, Sex
      Work and the Human Trafficking, Toledo, OH.

Roe-Sepowitz, D.E., & Hickle, K. (2009). Prediction of Dissociation Experiences among
      Prostituted Women. Annual Conference on Prostitution, Sex Work and the Commercial
      Sex Industry, October 1 & 2, 2009, Toledo, OH.

Roe-Sepowitz, D.E. (2007). The mental health needs of a sample of prostituted women.
       Annual Conference on Prostitution, Sex Work and the Commercial Sex Industry,
       September 27-28, 2007, Toledo, OH.

Pate, K.N., Roe-Sepowitz, D.E., & Bedard, L.E. (2004). Qualitative Exploration of Prostitution.
        Conference Proceedings. Annual Conference on Prostitution, Sex Work and the
        Commercial Sex Industry, September 23-24, 2004, Toledo, OH.

JURIED NATIONAL CONFERENCE PRESENTATIONS
Roe-Sepowitz, D., & Gallagher, J. (2015, July). Sex Trafficking in the United States.
International Academy of Law and Mental Health Conference, Vienna, Austria.

Roe-Sepowitz, D., & Bracy, K. (2015, September). Phoenix 1st Step Drop In Center. 12th
      Annual Conference on Prostitution, Sex Work and the Human Trafficking, Toledo, OH.

Brockie, M., & Roe-Sepowitz, D. E. (2014, September). Starfish Partnerships Mentoring
       Program. 11th Annual Conference on Prostitution, Sex Work and the Human Trafficking,
       Toledo, OH.

Roe-Sepowitz, D. E., & Bracy, K. (2014, September). Exploring the Characteristics and Treatment
      Needs of Sex Trafficked Girls. 11th Annual Conference on Prostitution, Sex Work and the
      Human Trafficking, Toledo, OH.

Roe-Sepowitz, D.E., Hickle, K.,Smith, J. (2013, September). Putting the Pieces Back Together:
      Trauma Treatment with Sex Trafficking Victims. National Center for Victims of Crime
      2013 National Conference. Phoenix, Arizona.

Roe-Sepowitz, D.E., Gallagher, J., Bauer, C., & Tutelman, J. (2013, September). Project ROSE:
An Arrest-Alternative for Sex Trafficking Victims. National Center for Victims of Crime
       2013 National Conference. Phoenix, Arizona.



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Roe-Sepowitz, D.E., Hickle, K., Smith, J., & Brockie, M. (2013, September). Unique Outreach
      Projects to Combat Sexual Exploitation. 10th Annual Conference on Prostitution, Sex
      Work and the Human Trafficking, Toledo, OH.

Roe-Sepowitz, D.E., & Kiehne, E. (2013, September). The Role of Hotels and Motels in the
      Facilitation of Sex Trafficking in the United States. 10th Annual Conference on
      Prostitution, Sex Work and the Human Trafficking, Toledo, OH.

Roe-Sepowitz, D.E., Hickle, K., & Sabella, D. (2012, September). Project ROSE (Reaching Out
      to the Sexually Exploited): An Innovative Arrest-Alternative in Phoenix, Arizona.
       9th Annual Conference on Prostitution, Sex Work and the Human Trafficking, Toledo,
      OH.

Roe-Sepowitz, D.E., Rubio, E., Hyche, C., Gennaro, J., Seer, S., Brockie, M. (2012, September).
      Backpage.com: Adult Entertainment Ads, Detecting Minors and Unexpected Findings.
       9th Annual Conference on Prostitution, Sex Work and the Human Trafficking, Toledo,
      OH.

Roe-Sepowitz, D.E., & Hickle, K., (2011, September). Esuba: Putting the Pieces Back Together
      with Sexually Exploited Women and Girls. 8th Annual Conference on Prostitution, Sex
      Work and the Human Trafficking, Toledo, OH.

Roe-Sepowitz, D.E., & Hickle, K. (2011, January). Prostitution Diversion: Survivor Analysis
      for Recidivism in Prostitution. Presented at the Society for Social Work and Research
      Conference: Tampa, Florida.

Roe-Sepowitz, D.E., & Hickle, K. (2009, November). Exploring Family Issues, Substance
      Abuse, Life Experiences and Age of Entry into Prostitution among Prostituted Women.
      Presented at the American Society of Criminology Conference: Philadelphia, PA.

Hickle, K. & Roe-Sepowitz, D.E. (2009, November). ADHD/ADD, Childhood Maltreatment
        And Juvenile Arsonists. Presented at the American Society of Criminology Conference:
        Philadelphia, PA.

Heide, K., Roe-Sepowitz, D.E., & Solomon, E. (2009, November) When Boys and Girls Kill:
        An Empirical Analysis of 30 Years of U.S. Data. Presented at the American Society of
        Criminology Conference: Philadelphia, PA.

Roe-Sepowitz, D.E., & Hickle, K. (2009, October). Prediction of Dissociation Experiences
       among Prostituted Women. Annual Conference on Prostitution, Sex Work and the
      Commercial Sex Industry, Toledo, OH.

Roe-Sepowitz, D.E. & Krysik, J. (2008, June). When a Child Batters a Parent: Domestic
      Violence, Child Maltreatment, and Substance Abuse. American Professional Society on
      the Abuse of Children. Phoenix, AZ.

Roe-Sepowitz, D.E. (2008, January). The Mental Health Needs of a Sample of Prostituted
      Women. Presented at the Society for Social Work and Research Conference:
      Washington, DC.

Zaman, H., & Roe-Sepowitz, D.E. (2008, January). Working with Female Adolescent


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       Sex Offenders. Prevent Child Abuse Arizona: 19th Child Abuse Prevention
       Conference.

Roe-Sepowitz, D.E. (2007, November). Comparing Male and Female Juveniles Charged with
       Homicide: Child Maltreatment, Substance Abuse and Crime Details. Presented at the
      American Society of Criminology Conference: Atlanta, GA.

Frenzel, B., Roe-Sepowitz, D.E., Pate, K., & Bedard, L. (2007, November). Treating
        Traumatized Men: A Prison Sample. Presented at the American Society of Criminology
        Conference: Atlanta, GA.

Pate, K., Bedard, L., & Roe-Sepowitz, D.E. (2007, November). Hidden Obstacles to Offender
        Reentry: The Florida Experience. Presented at the American Society of Criminology
        Conference: Atlanta, GA.

Langhoff, K., & Roe-Sepowitz, D.E. (2007, November). Female Juvenile Arsonists. A
        Presented at the American Society of Criminology Conference: Atlanta, GA.

Kochis, C., & Roe-Sepowitz, D.E. (2007, November). Domestic Violence and Witnessing
        Violence as Childhood. Poster presented at the American Society of Criminology
        Conference: Atlanta, GA.

Morris, T., & Roe-Sepowitz, D.E. (2007, November). Male Juvenile Sex Offenders:
        Connecting ADHD/ADD and Impulsivity of Victim Choice. Presented at the
        American Society of Criminology Conference: Atlanta, GA.

Roe-Sepowitz, D.E., (2007, September). The Mental Health Needs of Prostituted Women: A
      Sample of Incarcerated Women. 4th Prostitution, Sex Work and the Commercial Sex
      Industry Conference, Toledo, OH.

Roe-Sepowitz, D.E. (2006, November). Self-harm and Suicide Attempts: A Sample of
      Incarcerated Women. Presented at the American Society of Criminology Conference:
      Los Angeles, California, 11/2006.

Roe-Sepowitz, D.E. (2006, November). Juvenile Firesetters: Classification and Intervention.
      Presented at the American Society of Criminology Conference: Los Angeles, California.

Brawn, K., & Roe-Sepowitz, D.E. (2006, November). Female Juvenile Prostitution; Substance
       Abuse, Family Factors, and Neglect. Presented at the American Society of
       Criminology Conference: Los Angeles, California, 11/2006.

Ward, A., & Roe-Sepowitz, D.E. (2006, November). Trauma and Abuse Intervention Program
       Effectiveness: Community and Corrections Based. Presented at the American Society of
       Criminology Conference: Los Angeles, California, 11/2006.

Villarreal, M., & Roe-Sepowitz, D.E. (2006, November). Female Juvenile Sex Offenders:
        Characteristics, Assessment and Treatment Recommendations. Presented at the
        American Society of Criminology Conference: Los Angeles, California, 11/2006.

Roe-Sepowitz, D.E., & Ward, A. (2006, September). A Trauma and Abuse Intervention



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        Program for Female Prostitutes in Recovery: The Esuba Program. 3rd Prostitution, Sex
        Work and the Commercial Sex Industry Conference, Toledo, OH.

Roe-Sepowitz, D.E. (2005, November). Adolescent Sex-Offenders in Juvenile Justice:
      Classification and Placement. Presented at the American Society of Criminology
      Conference: Toronto, Canada.

Bedard, L.E., Roe-Sepowitz, D.E., & Pate, K.N. (2005, November). The Impact of Child Abuse
       on Adult Criminal Behavior. Presented at the American Society of Criminology
       Conference: Toronto, Canada.

Roe-Sepowitz, D.E. (2005, November). A Statewide Profile of Florida’s Adolescent Female
      Sex Offenders: Characteristics, Assessment, Treatment, and Outcomes. Presented at the
      American Society of Criminology Conference: Toronto, Canada.

Roe-Sepowitz, D.E. (2004, September). Qualitative Exploration of Prostitution. 1st Prostitution,
      Sex Work and the Commercial Sex Industry Conference, Toledo, OH.

Roe-Sepowitz, D.E., Bedard, L.E., &Pate, K.N. (2004, November). A Qualitative Look at
      Prostitution: Motives, Contributing Factors and Consequences. Presented at the
      American Society of Criminology Conference: Nashville, TN.

Pate, K.N., Bedard, L.E., & Roe-Sepowitz, D.E. (2003, November). Esuba: An Abuse
        Prevention Program for Girls in Custody. Presented at the American Society for
        Criminology Conference: Denver, CO 11/2003.

Bedard, L.E., Pate, K.N., & Roe-Sepowitz, D.E. (2002, November). A Program Analysis of
       Esuba: Helping Turn Abuse Around. Presented at the American Society of Criminology
       Conference: Chicago, IL.

JURIED POSTER PRESENTATIONS
Roe-Sepowitz, D.E., & Brockie, M. (2012, September). Online Outreach to Prostitution and Sex
      Trafficking Victims: Utilizing Email and the Internet to Provide Support and Exiting
      Resources. 9th Annual Conference on Prostitution, Sex Work and the Human
      Trafficking, Toledo, OH.

Roe-Sepowitz, D.E., & Smith, J. (2012, September). Motivation to Change among Prostituted
      Women in a Court Ordered Diversion Program. 9th Annual Conference on Prostitution,
      Sex Work and the Human Trafficking, Toledo, OH.

Roe-Sepowitz, D.E. & Hickle, K. (2010). Juvenile Entry into Prostitution: The Role of
      Emotional Abuse. Presented at the Society for Social Work and Research
      Conference: San Francisco, CA.

Roe-Sepowitz, D. E. (2007, July). Treating Traumatized Women: A Prostitution Sample.
      Cape Cod Institute, Eastham, MA.

Sex Trafficking-Specific Brochure Series:




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Roe-Sepowitz, D., Bayless, A., Sabella, D., Tate, R., & Whitney, J. (2015). What You Need To
Know: Sex Trafficking and Sexual Exploitation; A Training Tool for EMS Providers. Arizona
State University.

Roe-Sepowitz, D., Bayless, A., Agliano, S., Hall, B., & Cimeno, M. (2015). What You Need To
Know: Sex Trafficking and Sexual Exploitation; A Training Tool for Adult Probation Officers.
Arizona State University.

Roe-Sepowitz, D.E, Hickle, K., Bayless, A., Agliano, S., Hall, B. & Gay, A. (2014). What You
Need To Know: Sex Trafficking and Sexual Exploitation; A Training Tool for Child Protective
Services. Arizona State University.

Roe-Sepowitz, D.E, Hickle, K., & Bayless, A. (2014). What You Need To Know: Sex Trafficking
and Sexual Exploitation; A Training Tool for Mental Health Providers. Arizona State
University.

Roe-Sepowitz, D.E, Hickle, K., Bayless, A., Christenson, R., Tate, R., Sabella, D., Garumba, M.
(2014). What You Need To Know: Sex Trafficking and Sexual Exploitation; A Training Tool for
Health Care Providers. Arizona State University.

RECOGNITIONS AND AWARDS

January 2016                   Nominated for AZ Coalition to End Domestic and Sexual
                               Violence THRIVE award: The Desert Sunflower Award:
                               Champion.

January 2016                   Keynote Speaker for the Southwestern Conference Against
                               Trafficking.

October 2015                   Chosen to represent Arizona in New York City for the State
                               Courts and Sex Trafficking Conference.

August 2015                    Nominated for Arizona State University Leadership Academy
                               Cohort II.

July 2015                      Recipient of the Martin Luther King Jr. Servant Leadership
                               Award. Arizona State University and the College of Public
                               Service and Community Solutions.

June 2015                      Participation as an international Speaker for the U.S. Department
                               of State to Canada (Montreal and Toronto).

April 2015                     STIR Office awarded the 2015 ASU Excellence in Diversity and
                               Inclusion Award.

February 2015                  Invited to be an expert member of the Shared Hope International
                               Expert Council.

September 2014                 Invited to be an expert on the US Department of Health and
                               Human Services, Administration for Children, Youth and



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                        Families workgroup discussion about prevalence studies in
                        Washington D.C. on September 25, 2014.

April 2014              Arizona State University, Commission on the Status of Women.
                        2014 Faculty Outstanding Achievement and Contribution
                        Award.

March 2014              Appointed to the Arizona Governor’s Human Trafficking
                        Council by executive order.

January 2014            Appointed to the City of Phoenix Mayor’s Taskforce on Human
                        Trafficking.

January 2014            Invited to be an expert on the US Department of Health and
                        Human Services Expert Workgroup on Sex Trafficking and
                        Health Systems, January 13, 2014.

November 2013           Invited to be on the Research and Evaluation on Human
                        Trafficking, Expert Working Group in Washington D.C. on
                        April 23 and 24, 2014.

September 2013          Award the Influential Scholar of 2013 from the 10th annual
                        International Human Trafficking, Prostitution and Sex Work
                        Conference in Toledo, Ohio.

May 2, 2013             Invited as a Workgroup Member (expert) on Sex Trafficking to
                        the Johns Hopkins/ACCT Symposium on Meeting the Needs of
                        Child Trafficking Survivors.

May 2013                Invited to be a member on the development of the Child Sexual
                        Exploitation of Children guide for the U.S. Department of
                        Education

April 2013              Nominated for ASU Professor of the Year 2012-2013, Arizona
                        State University Parents’ Association. (1 of 24 nominees out of
                        3000 faculty).

April 9, 2013           Invited to participate in the White House Forum to Combat
                        Human Trafficking at the White House, Washington D.C.

March 2013              Nominated for ASU Centennial Professor Award.

February 2013           Nomination: Diversity Achievement Award; Faculty Google
                        Award for Diversity and Inclusion.

December 10, 2012       Invited to participate in the U.S. Department of Health and
                        Human Services Strengthening Victim Services for Survivors of
                        Human Trafficking Stakeholders Meeting at the White House,
                        Washington D.C.




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September 2012                 Nominated as a Pathfinder with Shared Hope International as a
                               recognized national leader at the forefront of addressing child
                               sex trafficking on a national platform, through prevention,
                               restoration and justice initiatives.

April 2012                     Nominated for ASU Professor of the Year 2011-2012, Arizona
                               State University Parents’ Association. (1 of 29 nominees out of
                               3000 faculty).

Spring 2012-December 2012      Faculty Spotlight, College of Public Programs
                               http://copp.asu.edu/college-news/faculty-spotlight

March 2010                     Nominated for an Arizona Behavioral Health Legacy Award.

March 2009                     Nominated for the Arizona State University Outstanding
                               Graduate Mentor Award.

December 2008                  Nominated for the Deborah K. Padgett Early Career
                               Achievement Award: Society for Social Work Research.

January 2008                   Nominated for the 7th Annual Governors’ Volunteer Service
                               Awards for Esuba Arizona.

Fall 2005-present              Elected as a Women and Gender Studies Affiliate Faculty,
                               Arizona State University.

2002, 2003, 2005               Nominated by students for a Florida State University Graduate
                               Teaching Award.

2001                           Co-Author, First Prize, Student Poster Presentation; American
                               Correctional Association, New Orleans, LA

1999-2000                      Full 1-year Graduate Academic Scholarship: Arizona State
                               University. Tempe, AZ.

CURRENT RESEARCH COLLABORATIONS
Demand Abolition: National Demand Prevalence Study and Demand Reduction Sites
Research. In collaboration with Dr. Stephanie Ryon from Colorado State University, Colorado
Springs.

Arizona Office of the Court: Sex Trafficking and Juvenile Probation Study.

Arizona DMST Counts: Juvenile Justice Service Provider Study. Funded by the McCain
Institute.

Super Bowl Research Project 2014 and 2015. Funded by the McCain Institute and in
partnership with Praescient Analytics.

Protected Innocence Challenge: Demanding Justice Multisite Comparison Study. Shared
Hope International.



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Protected Innocence Challenge: Demanding Justice, Benchmark Assessment Report. Shared
Hope International

Exploring Prostitution Demand. This study was funded by Thorn: Digital Defenders of
Children.

Project ROSE (Reaching Out to the Sexually Exploited).

Esuba: Putting the Pieces Back Together.

StreetlightUSA: Evaluating a Group Home Program for Sexually Exploited Girls.

Esuba: Women Helping Women Turn Abuse Around Research Partners with Dr. L.E. Bedard
and through a Memorandum of Agreement, Florida Department of Corrections (Project
Manager, K. Pate).

Prostitution Diversion Retention Study: In partnership with the City of Phoenix Prosecutor’s
Office and the Prostitution Diversion Provider (Catholic Charities).

John School Attitudes and Beliefs Study: In partnership with the City of Phoenix Prosecutor’s
Office and the Prostitution Diversion Provider (Catholic Charities).

Domestic Violence and Juveniles

Prison Pseudo-Families: In partnership with Dr. Laura Bedard.

RESEARCH FUNDING total $2,021,169

November 2015: Received: Sub-Award National Institute of Justice Grant, CODAC and Tucson
Police Department, Southern Arizona Trafficking Response. 3-years. $23,022.

June 2015: Received: Demand Abolition CEASE City Studies continued.

June 2015: Received: Sex Trafficking and Arizona Juvenile Probation, Arizona Office of the
Courts. $50,800.

January 2015: Received: Demand Abolition CEASE City Studies.

October 2014: Primary Investigator (co-Investigator Judy Krysik), Received: Sex
Trafficking and Arizona’s Vulnerable Youth: Identification, Collaboration, and Intervention, 5-
year grant. Total $1,243,480. Awarded by the Federal Administration for Children, Youth and
Families.

Summer 2014: Received: Adult Probation Training and Research Project: $20,000.
Awarded by the McCain Institute.

Summer 2014: Received: Trafficker Research Initiative: $25,000 Seed Grant Awarded by the
McCain Institute.




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Summer 2014: Received: National Prevalence Study, $125,000. Awarded by Demand
Abolition through the McArthur Foundation.

Summer 2014: Received: Demand Dashboard Study, $25,000. Awarded by Demand
Abolition.

Received: Project ROSE. $18,000 Awarded by the Arizona Foundation for Women for 2014.
This grant will provide support for developing and evaluating services for sex trafficked women
with children under the age of 18.

Received: Starfish Partnerships. $4,000 Awarded by the Arizona Foundation for Women for
2014. This grant will provide support for developing a mentoring program for adult sex
trafficking survivors.

Received: Protected Innocence Challenge: Multisite Analysis. $22,000. Awarded for January
– April 2014 from Shared Hope International.

Received: Super Bowl Research Grant: 2014-2015
$42,300. Awarded by the McCain Institute. This grant is to implement a research study to
determine the impact of the Super Bowl on sex trafficking.

Received: Domestic Minor Sex Trafficking Victim Count: $25,000. Awarded for 2013/2014
from the McCain Institute.

Received: Protected Innocence Challenge: Benchmark Assessment Report.
$2,750 Awarded for September 2013 from Shared Hope International. This contract was to
convert, analyze data from a large database on buyers of sex from minors in the United States
during 2008-2013.

Received: Identifying High Risk Minors
Awarded for 2013/2014 from Thorn: Digital Defenders of Children. This grant is to explore the
utility of a matrix and a digital reasoning program to identify high risk youth.

Received: Exploring Demand.
Awarded for 2013/2014 from Thorn: Digital Defenders of Children. This grant is to explore the
demand for online sex ads in multiple U.S. Cities.

Received: Promoting Awareness, Identification and Providing Interventions to Victims
Impacted by Domestic Violence and Sex Trafficking.
$50,000 Awarded for 2013/2014 from ASU Women and Philanthropy. This grant is to provide
training to 100 ASU graduate students on sex trafficking and domestic violence in a train-the-
trainer model with the goal of them further training others. This grant also includes funding for
apprentices for the Esuba project to train future clinicians to treat minors and adults impacted by
sex trafficking experiences.

Received: Evaluation and Training Project: StreetlightUSA,
Awarded for 2012-2014. Provide semi-annual summaries of client files and outcomes and
provide local trainings monthly for the community, law enforcement, social services, and the faith
community.




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Received: Diversion Evaluation: City of Phoenix Prosecutor’s Office Diversion Programs,
$18,000 Awarded for 2012-2013. Provide a program evaluation for an underage drinking
diversion program with 1800 clients.

Received: Esuba: Putting the Pieces Back Together.
$15,000 Awarded for 2012. This grant is to provide psychoeducation groups to survivors of sex
trafficking at 6 locations, three groups for adult survivors of prostitution or sex trafficking and
three groups for commercially sexually exploited children. The grant will provide assistance in
the continuation of an apprenticeship program for graduate social work students and sex
trafficking survivors. This grant funded graduate students and sex trafficking survivors to
develop clinical skills in the administration of the Esuba: Putting the Pieces Back Together
Program. This is a trauma-focused intervention group designed specifically for adult and juvenile
survivors of commercial sexual exploitation, sex trafficking and prostitution.

Received: Statewide Training Program, Commercial Sexual Exploitation of Children and
Adults. $15,000 Awarded for 2012. This grant is to provide three trainings around Arizona
(Phoenix, Flagstaff and Tucson) to increase the awareness, responsive and intervention services
by law enforcement, court personnel, child welfare, faith community members, and social service
providers to child and adult victims of sex trafficking, prostitution and commercial sexual
exploitation.

Received: Evaluation project for Catholic Charities
$10,000 Awarded for 2010-2011, $2,400 Awarded for 2009/2010. Evaluation of a program
offered by Catholic Charities related to poverty and financial literacy. Co-PI Dr. Joanna Lucio,
School of Public Administration ASU.

Received: Pilot project design and evaluation:
$13,500 Awarded for 2008/09 and 2010/11. Assist in the design of a multi-year trauma
intervention pilot study in Rwanda. Database development, entry, management, analyses and
manuscript writing were conducted.

Received: Fresh Start Women’s Foundation, Phoenix, AZ. Re-entry Program for Women
Pilot Project. $24,000 Awarded for January 2008-May 2009. To provide a weekly 2-hour
trauma and abuse intervention and provide clinical supervision and training for staff at Fresh
Start. Includes $3,000 for 2 graduate student stipends for their involvement in the project.

PROFESSIONAL EXPERIENCE/ CLINICAL TRAINING

       EMDR Level 1 Certified
       Certified Traumatologist (Completed all of the clinical courses at the
        Traumatology Institute).
       TR-CBT Online course

Clinical Psychoeducation Group leader/supervisor, Esuba Arizona and Sex Trafficking
Awareness and Recovery groups, Phoenix, Arizona State University.         1/2006- present
Provide weekly 90-minute trauma and abuse group psycho-education interventions for women
leaving prison (Fresh Start Women’s Resource Center, contract 2008-2009) and women exiting
prostitution (Dignity House (2006-2010, Phoenix Dignity Diversion 2011-present, Crossroads
for Women 3/2012-10/2012; Parc Place 2011-2013, Tumbleweed Youth Services 2013-2014
Florence Crittenden 2013-2014). Provide clinical trauma symptomology reduction training and



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supervision to Apprentices (Masters level social work students and post-graduates) and survivor
co-facilitators and multiple locations providing Esuba to adult and domestic minor sex trafficking
victims.

Clinical Researcher and Program Developer: Tallahassee, Florida              4/2004-8/2005
Florida Department of Juvenile Justice
Developing, implementing and analyzing statewide research projects related to programs for
youth in custody with an emphasis on mental health . Assisted in the creation of new statewide
programs for day treatment, substance abuse, suicide prevention and aftercare in accordance with
the “What Works” and evidence-based practices literature. Participated in writing and
procurement activities for Federal and State grants and contracts. Directed and maintained the
Institution Review Board for all research proposed and conducted within the Department.

Trauma Therapist: Tallahassee, Florida
Private Practice                                                                 2/2001- 8/2005
Provided clinical in-home therapy for children and families that have experienced abuse and
traumatic experiences with problems such as limited attachment, trauma symptoms and
posttraumatic stress disorder. Conducted child and family assessments using a biopsychosocial
model, the Child Behavior Checklist, the Trauma Symptom Checklist for Children and the FAM
III.

Florida State University Victims’ Advocacy Program
On-Call Victim Advocate                                                            12/2000-8/2005
Provider of crisis intervention services including; crisis and supportive counseling, referrals, and
detailed information about Florida Sate University services for student victims and the criminal
justice system. Regularly presented materials to college classes and student organizations at
Florida State University regarding victimization issues such as; relationship violence, sexual
assault/battery and sexual harassment and stress management.


Trauma Therapist for Children: Woodville, Florida
Statewide Inpatient Psychiatric Program                                            3/2002-9/2002
Provider of individual and group trauma therapy for children with severe mental health problems
and histories of sexual abuse, family violence, juvenile justice involvement and emotional
disturbances in a residential treatment program. Treatment modalities include play and activity
therapy, art therapy, and narrative therapy. Provided consultation to the treatment team and
provided staff education related to trauma symptoms, self-mutilation, suicide prevention and
intervention, substance abuse issues, symptoms of sexual abuse and mental health problems.
Utilized trauma treatment techniques such as EMDR, narrative therapy and art interventions.

Traumatology Institute: Florida State University: Tallahassee, Florida
Coordinator/Associate Director                                                     8/2000-8/2001
Conducted and facilitated course development, marketing, recruitment and certification for
national and international participants in traumatology courses. Certified Instructor for Systemic
Traumatology and Children and Trauma courses.

Travelers Aid Society of Tucson: Tucson, Arizona                                 7/1999-8/2000
Contractor: Activity/Developmental Play Therapist for Children and Families in Crisis
Provider of in-home developmental play for children ages four to eighteen years old in families
affected by domestic violence, substance abuse and homelessness. Family support, stress
management and parent training also provided.


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Tucson Rape Crisis Center
Sexual Assault Response Team; Hospital Advocate.                             11/1997-8/2000
Provided crisis and supportive counseling, advocacy, referrals and medical information
regarding sexual assault exam and investigation at the six hospitals in the Tucson,
Arizona area. Worked as a team member with a Forensic Nurse Examiner and Tucson
Police Department, Pima County Sheriff’s Department and the University of Arizona
Police Department. Assisted with the training of new volunteers for the response team
and crisis hotline (two training cycles per year, 4 hours per training cycle). An active
member of the mentor team for new volunteers.

Pima County Victim Witness Program
Victim Advocate/Driver/Trainer: Volunteer, 30-40 hours per month. 11/1997-8/2000
Provided on-scene crisis intervention and advocacy to victims of crime including; sexual
assault, domestic violence, robbery, automobile/motorcycle accidents, death, suicide,
kidnapping, drowning and sexual abuse.


TEACHING AND INSTRUCTIONAL ACTIVITIES

Unique Course Development
Summer 2011/12     Prostitution and Sex Trafficking in the United States (Honors only and
                   graduate elective)
Summer 2010/11/12/13 Clinical Trauma Treatment (advanced clinical elective)
Summer 2009        Course: SWG 591: Forensic Social Work (14 graduate, 1 undergraduate)
Fall 2007          Thesis Discussion Group: Bi-monthly Graduate Seminar: M.S.W. (8
                   graduate students).
Fall 2006          Course: SWG 591: Forensic Social Work (21 graduate students)
Spring 2006        Course: SWG 591: Social Work and Criminology: Graduate Seminar
                   Program: M.S.W. (6 graduate students)

Student Involvement
Student Groups: Faculty Advisor
January 2010- 2014: Assisted in the formation and provide ongoing advisement of The
Prostitution and Human Trafficking Action and Awareness Student Organization.
 August 2007-August 2009: Social Work Honors Society Phi Alpha.

Thesis and Dissertations
Doctoral Level:
Kristine Hickle, Social Work, Chair. Completed Spring 2014.
Elisa Kawam: Social Work, Committee Member, Completed Spring 2015.
Wendy Dutton, Justice Studies. Member. Completed 2011.

Masters Thesis:
2006-2007
Kara Brawn, Juvenile Prostitution and Substance Abuse, Committee Chair.
Allison Ward, Treating Traumatized Women, Committee Chair.
Brady Miller-Clevenger, Shelter Use and Domestic Violence Victims. Committee Chair.


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2007-2008
Candice Kochis, Domestic Violence Offenders and Childhood Abuse and Violence,
Committee Chair.
Briana Frenzel, Trauma and Abuse Treatment: Comparing Male and Female Participants.
Committee Chair.
Kristi Langhoff, Female Juvenile Arsonists. Committee Chair.
Janice Lynch, Juvenile Offenders and Mental Health Assessment. Reader.
Penny Miller, Traumatic Brain Injuries and Substance Use. Reader.

2008-2009
Tina Stavros: Female Juvenile Sex Offenders. Committee Chair.
Harpreet Bahia: Exploring the Effects of Childhood, Adult and Cumulative Trauma on
Depression, Self-Worth and Coping Skills with Incarcerated Women. Reader.


2010-2011
Elizabeth Schepel: Transgendered Prostitution: A Profile. Committee Chair.
Whitney Johnson: Childhood Maltreatment and Male Juvenile Homicide Offenders.
Committee Chair.
Jennifer White: Babies First: Qualitative Assessment. Reader.

2011-2012
Leighanne Downing: Assessing the Treatment Needs of Female Juvenile Gang Members:
An Exploratory Study. Chair.

2013-2014
Cynthia Van Kleek: Young Males Experiences with Sexual Exploitation

Undergraduate Honors Thesis
2006-2007
Nicole Loeb, Juvenile Justice and Delinquency. Chair.

2009-2010
Emmalyn Corman, Transgendered Borderland Prostitution. Reader.

2010-2011
Multi-student project: Elizabeth Clarke, Prostitution and Substance Use. Reader.
Ross Clarke, Prostitution and Substance Use. Reader.

2011-2012
Caraline Jackson: Sexual Addiction and Men who Solicit Prostitutes. Chair.
Kamala Lan-Ette Vance. Domestic Violence and Sex Trafficking Project: Comparing the
Philippines and the United States. Reader
Blake Heller: Reader.




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2012-2013
Riley Figueroa: Domestic Minor Sex Trafficking and Risk Factors. Chair.
Shelby Doyle: Vice Unit Analysis. Chair.

2013-2014
Angela Warren: Interfaith Sex Trafficking Summit, Chair.
Emma Wille: Art Intervention and Sex Trafficking Clients, Chair.

2014
Kaitlin McFarlane: A Faith-Based Sex Trafficking Pilot Intervention. Chair.

2015
Felix Cervantes: Sexual Assault and ASU, committee member.
Tiana Ward: National Sex Trafficker Study
Eric Shulte and Jessica Hocken: Sex Trafficking Student Organization

Research with Undergraduate Students
Rena Morris, Juvenile Delinquency Projects. Fall 2006 and Spring 2007.
Valencia Johnson, Prostitution and Mental Health Services. Fall 2007-Fall 2009. *This
student won the College of Public Programs Undergraduate Research Award.
Craig Vankorlaar, International Prostitution Exiting Resources. Fall 2009.
Taylor Heller, Male Juvenile Prostitution. Fall 2011.
Kristin D’Sousa, Female Pimp Research. Fall 2011.
Megan Reinikka, Research Assistant Fall 2011.
Melissa West: Research Assistant; Fall 2011-present.
Jennifer Lohss: Research Assistant; Fall 2011.
Emma Wille, Summer 2013-2014.

Independent Study Projects
Graduate Students
2006-2007
Monica Villarreal, Female Juvenile Sex Offenders. Fall 2006.
Valerie Flaherty, Forensic Social Work. Fall 2006.
Thomas Muir, Juvenile Stalkers. Fall 2006.
Zovig Boyajian, Female Adolescent Sex Offenders. Fall 2006.
Jeanne Larson, Male Sexual Offenders. Fall 2006.
Amy Sharp, School Firesetters and Bullying. Spring 2007.
Kacey McGitney, Eating Disorders and Female Adolescents. Spring 2007.

2007-2008
Travis Morris, Male Juvenile Sex Offenders and ADHD. Fall 2007.
Erika Galietta, Mental Health and Women in Prison. Spring 2008.
Terri Browning, Girls and Domestic Violence Against a Parent. Spring 2008.
Andrea Cimino, Program Completion and Prostitution Exiting Programs. Summer 2008.

2008-2009



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Lindsey Keiper. Male Juvenile Sex Offenders and Prior Sexual Victimization. Spring
2009.

2009- 2010
Hope Caroll: Pseudo Families in Women’s Prison: Exploring Social Support Networks.
Sarah Grumbley: Male Juvenile Prostitution: A Literature Review.
Greg Dicharry: My Life. Evaluation of an Intervention for SMI and At-risk Youth.
Talia Delaurentis: Survival Sex of Juvenile Prostitution.
Lauren Jones: Domestic Violence against Parents by Girl Juvenile Offenders.

2010-2011
Diana Haymore: Juvenile Domestic Violence against a Grandparent.
Elizabeth Schepel: Transgendered Prostitution: A Profile.
Whitney Johnson: Childhood Maltreatment and Male Juvenile Homicide Offenders.
Jessica Crowell: Prostitution and Lifetime Experiences of Violence.


2011-2012
Erin Fritz: Grandparents and Domestic Violence of Juveniles
Melissa Fenrich: Self Esteem and Female Inmates: The Impact of a Group Intervention
Carrie McKinney: Male Juvenile Sex Offenders and Recidivism.

2012-2013
Jessica Smith: Motivation to Change with Sex Trafficking and Prostitution Survivors

2013-2014
Jaclyn Raymond: Applied Project. Exploring the Role of Medical Amnesty During
Sexual Assault Response on College Campuses.
Kristen Bracy: Networking Sex Trafficking Ads.

2014-2015
Karina McCluskey: Mothering and Prostituted Women.
Lauren Albee: Housing Instability and Prostituted Adults.

MEDIA EXPOSURE (selected items)
National Media:
Researchers Say Super Bowl Sex Trafficking Included Minors (March 6, 2014)
http://hereandnow.wbur.org/2014/03/06/superbowl-sex-trafficking

National/International Media:
Aljazeera America: America Today (November 14, 2013)
http://america.aljazeera.com/watch/shows/america-tonight/america-tonight-
blog/2013/11/14/project-rose-prostitutesjail.html

Documentary Interview




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Sex+Money: A National Search for Human Worth. Taped Interview on juvenile and adult
prostitution and johns. Interviewed October 22, 2009. Released.

SERVICE
Hosting Trainings/Conferences
Sex Trafficking from Behind Bars, November 9, 2015. ASU Walter Cronkite School
of Journalism. Partnered with the Arizona’s Governor’s Office of Youth, Faith and
Family and the McCain Institute for International Leadership.

Faith Forum on Sex Trafficking: November 3, 2015. Steele Indian School Park.
Partnered with the City of Phoenix, the McCain Institute for International Leadership, the
Governor’s Office of Faith, Family, and Children and 10 faith community organizations.

Sex Trafficking Summit: April 30/May 1, 2015. NAU Phoenix Campus. In
partnership with Tumbleweed Youth Services and TRUST, co-led a 2-day summit
(training and demonstrations) on sex trafficking. Total: 140 attendees from 56
organizations.

City of Phoenix Sex Trafficking Summit: A Focus on Prevention. April 9, 2014.
Phoenix Zoo. In partnership with Valley Leadership, this all-day summit brought
experts from around the country and all corners of Arizona to discuss innovation and
creative programming related to sex trafficking prevention. The target audience was
school personnel, child welfare workers and juvenile justice personnel. Total: 300
attendees.

Supervised: Sex Trafficking Interfaith Summit: October 14, 2013. The all-day
summit had 214 attendees from the faith community around Arizona. The attendees
received a sex trafficking 101 training and break out groups discussed how to increase the
faith community’s involvement in sex trafficking service provision in Arizona.

City of Phoenix Sex Trafficking Summit. June 1, 2013.
Phoenix Children’s Hospital. In partnership with the Phoenix Police Department and
Phoenix Children’s Hospital, this all-day summit brought experts from many different
fields together to better understand and serve victims of sex trafficking. The target
audience was law enforcement, social service providers, child welfare workers and
medical service providers for children. Total: 180 attendees.

Professional Service
Appointed Member and Training/Research and Data Committee Chair: Arizona
Governor’s Human Trafficking Council, Spring 2014-present.

Appointed Member, City of Phoenix, Mayor’s Human Trafficking Task Force Member,
Chair, Training Committee. Spring 2014-present.

Founding member The International Journal of Human Trafficking. First issue
January 2015.



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Editorial Board Member: The Journal of Violence Against Women (2014 and 2015).

Health and Wellness Technical Working Group Member, US Department of Health
and Human Services, Administration for Children and Families, Office of Women’s
Health (2014). Contribution to the SOAR training modules related to the Federal
Strategic Action Plan on Services to Victims of Human Trafficking in the United States.

Partner: Project ROSE (Reaching out to the Sexually Exploited): In conjunction with
15 community members, developed an arrest-alternative providing holistic and victim-
centered services to prostituted adults in Phoenix, AZ in an ‘event’ style of service
provision. Organized meetings, coordinated partnerships and evaluating the program for
5 consecutive events serving 366 clients.

National Board of Directors: Originating Board Member. Development Board for the
National Research Consortium on Commercial Sexual Exploitation. Developed June
2010-present. Working with national leaders on prostitution and sex trafficking research
to develop a comprehensive research agenda, work together on major grant proposals and
to develop a journal.

Council Member: Arizona Human Trafficking Executive Council. March 2012-
present. Committee Member, Legislative Committee.

Elected Officer, National Board of Directors, Treasurer: American Association of
Orthopsychiatry. February 2006- January 2008. Term Began February 2006 for 2 years.
Managed all of the financial aspects of the national organization including investments, budget
development, travel reimbursement and accountability. Worked with the Board members to
determine the direction of the association and the journal.

Nationally selected Reviewer of Abstracts National Center for Victims of Crime:
April 2010: Abstract reviewer for the 2010 conference of the National Center for
Victims of Crime entitled ‘Victim-centered, Practice-based, and Research-Informed’.

Reviewer of Abstracts Society for Social Work and Research: June 2007, 2008,
2009, 2010, 2011, 2012, 2014: Abstract reviewer for the conferences of the Society for
Social Work and Research to select presenters.

Phoenix Prostitution Task Force Member (2008-2012): Participate in quarterly
meetings of city personnel, law enforcement and social service agencies to bring together
knowledge and develop best-practices for services for addressing juvenile and adult
prostitution in Arizona.

AD HOC PEER REVIEWER
Journal of Social Work
International Journal of Offender Therapy and Comparative Criminology
Women’s Health Issues
Journal of Sociology and Social Welfare


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Criminal Justice and Behavior
Violence against Women
Journal of Behavior Therapy and Experimental Psychiatry
Journal of the Society for Social Work Research
Psychiatry Research
Violence and Victims
The American Journal of Orthopsychiatry
The Journal of Violence against Women
The Criminal Justice Review
Social Service Review

INVITED SERVICE PRESENTATIONS
Arizona Psychological Association: Keynote. October 16, 2015. Sex trafficking: Detection and
treatment. 246 attendees.

Arizona Office of the Courts: Series of six trainings from August-September 2015 with 547
juvenile probation, court staff, detention staff and related community members trained. Funded
by Arizona Governor’s Office Grant.

Arizona Department of Child Safety: Series of 20 trainings from May 2015-August 2015 with
1100 DCS staff trained. Funded by ACYF Grant.

Arizona Court Appointed Special Advocates and Foster Care Review Board Conference:
August 28, 2015. 246 attendees.

Arizona Prosecuting Attorney’s Advisory Council: August 28, 2015. Recognizing, identifying
and treating sex trafficking victims. 22 attendees.

Southwestern Schools for Behavioral Health Studies: Keynote. August 27, 2015. Tucson,
Arizona. Identifying and treating sex trafficking victims. 202 attendees.

Domestic Violence Conference, City of Glendale: August 20, 2015. Recognizing, identifying
and treating sex trafficking victims. 45 attendees.

Human Trafficking in Native Communities Seminar: June 11, 2015. Speaker at training for
tribal law enforcement, tribal leaders, and community stakeholders to address sex trafficking
among American Indian people.

Arizona Juvenile Justice Commission, Sex Trafficking Research Presentation. November
20, 2014. 16 attendees.

21st Statewide Annual Conference on Ending Homelessness, Arizona Coalition to End
Homelessness: Youth Experiences Survey. October 22, 2014. 74 attendees.

Human Trafficking Education for Professionals, Mesa Community College, Social Work
Program. October 22, 2014. 145 attendees.

Arizona Humanities, Community Conversations Series: Sex Trafficking in Arizona. March
27, 2014. Rose and Thorn, Heritage Square. 24 attendees.



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Maricopa County Adult Probation: Manager’s Forum. Overview of Sex Trafficking and
Treatment and Trauma Informed Approaches. March 18, 2014. 124 attendees.

Maricopa Association of Governments (MAG). 2013 Domestic Violence Protocol
Evaluation Project Webinar. December 16, 2013. Domestic Violence and Sex Trafficking.

NASW Webinar: December 12, 2013. Sex Trafficking and Social Work.

Invited Presenter: Committee on the Impact of Domestic Violence and the Courts, September
10, 2013. Presentation to judges, advocates and domestic violence program staff. Attendees: 22

Invited Presenter: Arizona Governor’s Commission to Prevent Violence Against Women
August 15, 2013. Invited presentation regarding domestic violence and sex trafficking in Arizona
to members of law enforcement, social service agencies and victim advocacy groups. Attendees:
24

Invited Presenter; Arizona Association of Police Chiefs (AACOP). Sex Trafficking in Arizona.
March 22, 2013. Grand Canyon University. Attendees: 75.

Invited Presenter; City of Phoenix Faces of Diversity Brown Bag, Phoenix Human Relations
Commission, In our own backyard: Child Prostitution and Sex Trafficking in Arizona. March 15,
2013. Phoenix City Council Chambers, Phoenix, Arizona. Attendees: 48.

Invited Presenter; ASU Future Scholar Program: Guest Speaker. Sex Trafficking Training.
February 9, 2013. Halle Center. Phoenix, Arizona. Attendees: 22.

Invited Presenter; Arizona Hotel Child Protection Program: Guest Speaker. January 11, 2013.
Sex Trafficking Interventions and Research. Paradise Valley, Ascension Lutheran Church.
Attendees: 35.

Nationally Recognized Expert and Invited Presenter April 9-13, 2012: Amber Alert Sex
Trafficking Symposium, Salt Lake City, Utah. Multiple Presentations: Academia and Sex
Trafficking and Innovative Interventions for Sex Trafficking. International and National
attendees: 120.

Invited Presenter April 27, 2012 for the International Law Society, Phoenix Law School:
Title: Sex Trafficking Services and Needs.7pm -10pm. Community Attendees: 25.

Invited Presenter September 17, 2010 for Arizona Girls Roundtable: Title: Research and
Treatment of Self-Harm.10am-12pm. Community Attendees: 120.

Invited Presenter: September 30, 2010 for the City of Phoenix Prosecutor’s Office: Title:
Evaluation of the Prostitution Diversion Program. 12-1pm.

Invited Presenter May 1, 2010: Arizona Girls for a Change: Simple Serenity. A high-school
student organized event. Presented ‘The link between depression and self-mutilation’.

Invited Presenter January 28, 2010: Phoenix Prosecutors’ Office: Presentation to Prosecutors
on the pilot evaluation project of the John’s School (Solicitation Program).




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Invited Presenter August 4, 2009: Federal Public Defender’s Office: National Training for
Victim Advocates. Training on Trauma, PTSD, Victimization and Self Care. Santa Clara,
California.

Invited Presenter June 2008-March 2012: City of Phoenix/Catholic Charities Prostitution
Diversion Program: Monthly 4-hour training/lecture as part of diversion program on violence
against women and domestic violence.

Invited Presenter February 2008: NASW Arizona Continuing Education Training:
Characteristics and predictors of self-harm. 3 hours.

Invited Presenter March 2007: NASW Arizona Continuing Education Training: Social Work
Ethics and the Traumatized Client. 3 hours.

Invited Presenter June 15, 2007: Navajo Nation 24rd Annual Division of Social Services
Conference Presentation: Juvenile Sex Offenders. Albuquerque, NM. Two sessions.

Invited Presenter July 2006: Arizona State University Summer Institute on the Community:
Gender Issues in the Community Panel Member.

Invited Presenter June 2006: Navajo Nation 23rd Annual Division of Social Services
Conference: Presentation: Adolescent Sex Offenders: Assessment and Treatment. Fort McDowell,
Two sessions.

Invited Presenter April 2006: Panel presentation to the ASU School of Social Work Alumni
Association. Arizona State University: Mercado, Phoenix, AZ. Roe-Sepowitz, D.E., Woods,
K., & Waller, M. Trauma and Trauma Recovery:Compassion Fatigue.

Invited Presenter July 2006: Arizona School Nurse Consortium. Presentation Title: The Many
Faces of Grief:Assessment and Intervention.

Invited Presenter March 2006: University of Arizona, James E. Rogers College of Law,
Juvenile Law Class. Presentation Title: Youth Gang Membership and Consequences.


PUBLIC/COMMUNITY SERVICE
February 2011-present: Prostitution Diversion Program, Phoenix, Arizona.
Developed a targeted treatment manual entitled “Esuba: Putting the Pieces Back Together” for
adult men and women who are participating in a diversion program. Co-lead the trauma and
abuse focused psychoeducation groups with 4 MSW student apprentices (in training) and a
survivor of sex trafficking/prostitution. Provide supervision to students and leader of other
groups.

January 2011- present: Parc Place: Chandler, Arizona, StreetlightUSA, Glendale, Arizona.
Co-developed a targeted treatment manual entitled “Esuba: Putting the Pieces Back Together for
Sexually Exploited Girls”. Providing supervision to an advanced graduate student who is
providing the intervention with commercially sexually exploited girls in a residential treatment
program.




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January 2006- June 2010: Dignity/Sundance House, Catholic Social Services, Phoenix,
Arizona. Co-led a trauma and abuse-focused psychoeducation group called Esuba for 3 years
and provided supervision and fill-in group leader for 1.5 years. I provide clinical apprenticeships
for graduate students (8 total) to train students to work with traumatized clients in a group setting.
We provided the group to women who are in a voluntary residential program for exiting
prostitutes with extensive health, domestic violence and substance abuse problems.

Fall Semester 2006: Distance learning Instructor of two Bachelor’s students at the Federal
Bureau of Prisons, Phoenix, AZ. Created an independent study plan and visited the prison to
conduct discussion and give feedback on written assignments.

June 2006 and June 2007: Clinical Services/Therapeutic Support, Camp Courage.
Foundation for Burns and Trauma Annual Summer Camp (1 week) for burned children and their
siblings. Provided clinical services to youth and clinical information to counselors and staff for
two summers.

UNIVERSITY/COLLEGE/DEPARTMENT
2010-present: Honors Faculty Advisor: School of Social Work. Recruiting, mentoring
and supporting honors students.

2008-Present: Student Academic and Performance Standards Committee (all levels).

hair.

2009-present: Appointed Member: Arizona State University Hearing Board: Tasked
with hearing appeals from students who have had disciplinary action taken against them
by University administration.

August 2009-2010: Obama Scholar Mentor.

2005-2011: Advanced Direct Practice Committee, MSW Program.

2007-2012: School of Social Work Ph.D. Committee.

2006-2007: School of Social Work Search Committee.

May 2006: Committee to Review applications for Alumni Association Scholarships.

2005-2006: Promotion and Tenure Committee, non-voting member.

August 2007- present: Associate Director of the Office of Forensic Social Work.

Office of Forensic Social Work: Forum Speaker. April 19, 2010. Provided a lecture
and discussion forum on Treating Trauma with Forensic Clients for the Office of
Forensic Social Work series with the Arizona State Hospital. 160 community members
attended.




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Lecture Series Speaker: April 2, 2009. Provided a lecture and a discussion forum on
John School Evaluation: Changing Beliefs and Attitudes for the lecture series. Sixteen
student, community member and faculty attendees.

Lecture Series Speaker: September 11, 2008. Provided a lecture and a discussion
forum on the Mental Health Needs of Prostituted Women for a lecture series. 22 student,
community member and faculty attendees.

Lecture Series Speaker: August 30, 2007. Provided a lecture and a discussion forum
on Self Harm: Characteristics and Treatment for the new lecture series. 32 student,
community member and faculty attendees.

August 2007- May 2009: Coordinator of a bi-monthly School of Social Work multi-year
Lecture series on topics related to forensic social work.

March 2005, October 2006 and September 2007: Co-Facilitator of a brown bag
Discussion “How to Get a Job in an Academic Setting” for doctoral students.




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